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                    IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF KANSAS


United States of America,

                        Plaintiff,
vs.                                                           Case No. 04-20006-02-JWL

Jami Mosley,

                        Defendant.


                             MEMORANDUM AND ORDER

         This matter comes before the court on defendant’s pro se motion, filed April 8,

2008, for retroactive application of the amended sentencing guidelines in order to reduce

her term of imprisonment as provided by 18 U.S.C. § 3582(c). (Doc. 253.) Because

there is no statutory basis for a reduction in sentence, for reasons stated below and in the

interest of efficiency, defendant’s motion is summarily denied without further briefing by

the parties.

         Defendant Mosley was tried before a jury and convicted on November 23, 2004,

of one count of conspiracy to possess with intent to distribute cocaine and one count of

managing a residence for the purpose of unlawfully storing and distributing a controlled

substance. Pursuant to 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(iii), and (ii)(II) (five (5)

kilograms or more of cocaine; fifty (50) grams or more of cocaine base) the defendant’s

statutory minimum sentence, regardless of guideline recommendations, may not have

been less than ten (10) years. Defendant was then sentenced on July 1, 2005, to the

statutory minimum term of 120 months imprisonment.
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        The federal sentencing guidelines were amended effective November 1, 2007 to

lower the base offense level for cocaine base (“crack” cocaine) offenses. See Sentencing

Guidelines for U.S. Courts, 72 Fed. Reg. 28,558, 28,571-72 (May 21, 2007). These

amendments were retroactively applied as of March 3, 2008. See Sentencing Guidelines

for U.S. Courts, 73 Fed. Reg. 217, 217 (Jan. 2, 2008). Although the defendant points to

these amendments as the basis for requesting a reduction in her sentence of

imprisonment, these guideline amendments are not effective as such in this case.

        Once the sentencing guidelines are amended in such a manner as to adjust a

previously imposed sentencing range downward, the court may reduce a defendant’s

sentence if the “reduction is consistent with [the] applicable polic[ies]” of the Sentencing

Commission. 18 U.S.C. § 3582(c)(2)(2002). According to the Sentencing Guidelines,

the policy statement of the Commission is that a reduction “is not authorized under 18

U.S.C. § 3582(c)(2) if . . . (B) an amendment listed in subsection (c) does not have the

effect of lowering the defendant’s applicable guideline range.” U.S. Sentencing

Guidelines Manual § 1 B1.10(a)(2)(B)(2008). Application note one to U.S.S.G. § 1B1.10

states that “a reduction in the defendant's term of imprisonment is not authorized under

18 U.S.C. 3582(c)(2) and is not consistent with this policy statement if . . . the

amendment does not have the effect of lowering the defendant's applicable guideline

range because of the operation of another guideline or statutory provision (e.g., a

statutory mandatory minimum term of imprisonment).” U.S.S.G. § 1B1.10 cmt. n.

1(A)(ii).

        In this case, the defendant’s sentence would not be lowered by the guideline

amendments, as the sentence imposed by the court was pursuant to a required 120 month
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statutory minimum. See 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(iii) and (ii)(II). Even

according to the amended guidelines, defendant’s statutory minimum sentence, although

not exceeding the maximum end of the range, would fall within the guidelines range, and

would not then “have the effect of lowering the defendant’s applicable guideline range.”

U.S.S.G. § 1 B1.10. More conclusively, courts have held that “the Sentencing

Commission does not have the authority to override a statute.” U.S. v. Smartt, 129 F.3d

539, 542 (10th Cir. 1997) (quoting U.S. v. Novey, 78 F.3d 1483, 1486 (10th Cir. 1996)).

Therefore, the defendant is not entitled to relief under the retroactively applied

amendments to the sentencing guidelines. See, e.g., U.S. v. Johnson, 517 F.3d 1020,

1024 (8th Cir. 2008); U.S. v. Smartt, 129 F.3d 539, 542 (10th Cir. 1997).

          For these reasons, the defendant’s pro se motion for a reduction of her sentence is

denied.



IT IS SO ORDERED.



Signed this 25th day of April, 2008.




                                                s/ John W. Lungstrum
                                                JUDGE JOHN W. LUNGSTRUM
                                                UNITED STATES DISTRICT JUDGE
